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                                                                             FILED
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXASJanuary                   28, 2019
                                                                      KAREN MITCHELL
                                                                  CLERK, U.S. DISTRICT COURT
IN THE MATTER OF                           §
CIVIL LITIGATION INVOLVING                 §      Special Order No. 13-3
THE FEDERAL GOVERNMENT                     §
AS A PARTY                                 §

                           OMNIBUS MOTION FOR LIFT OF STAY

        On December 28, 2018, due to the lapse of appropriations to the Department of

Justice, the Court granted the government’s omnibus motion for a stay of all civil cases in

the Northern District in which (1) the United States is a party and (2) the attorney of

record is an Assistant United States Attorney in the U.S. Attorney’s Office for the

Northern District of Texas (USAO-NDTX). Congress and the President approved

legislation restoring the Department of Justice’s appropriations on January 25, 2019, and

the AUSAs in the USAO-NDTX are resuming their usual civil litigation functions.

        Therefore, the United States of America moves for a lift of the stay entered by the

Court on December 28, 2018, in all of the cases identified in Exhibit A to that Order and

attached hereto (the “Stayed Cases”). The United States further requests that all deadlines

in the Stayed Cases be extended by 34 days to account for the duration of the lapse in the

USAO-NDTX’s appropriations, unless otherwise directed by the United States District

Judge presiding in a particular case.




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                                           Respectfully submitted,

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                                           UNITED STATES ATTORNEY

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                                           Exhibit A

Beran, Lindsey        1:18cv181-C Tamasoa v. Keith
                      1:18cv192-C Pruitt v. Keith
                      3:12cv4457-N Capshaw et al v. White et al
                      3:17cv898-L-BN Brown v. USA
                      3:17cv2987-D-BT Chima v. United States of America
                      3:18cv834-L-BN Yeboah v. US Immigration and Custom Enforcement
                      3:18cv2043-G-BN Severino v. Johnson
                      3:18cv2304-S-BK Bao v. Session
                      3:18cv2306-N-BT Lewis v. USA
                      3:18cv2683-G-BH Hammad v. Session
                      3:18cv3088-B-BK Malakhov v. Session
                      4:18cv920-O Rodriguez v. Wilson
                      4:18cv926-O Harden v. Wilson
                      4:18cv954-O Cox v. Wilson

Chapman, Beverly      3:17cv2989-D USA v. $4,480,466.16 et al.
                      4:14cv716-Y USA v. 1984 Beechcraft King Air 300

Cherry, Marti         3:16cv2911-B-BK Rutila v. US Department of Transportation et al
                      3:17cv2639-N-BT Begay v. Leap et al
                      3:18cv526-D-BT Sterling v. United States of America
                      3:18cv2353-G-BH Barela v. Underwood et al
                      4:17cv666-O Martinez v USA
                      4:18cv306-Y Fuller v. Chao

Compton, Mattie       2:17cv209-D USA v. Lyon et al

Coffin, Kenneth       3:12cv4457-N Capshaw et al v. White et al
                      3:18cv774-K-BK Parson v. Hale et al
                      5:18cv89-C Delgado-Jimenez v. McAdams

Cruce-Haag, Ann       1:18cv73-C Oldham v. United States Small Business Association
                      2:16cv129-D-BR Collier v. Esper et al
                      2:18cv163-D-BR Bishop v. Olsen et al
                      3:18cv1450-D Brooks v. US Department of Education
                      4:14cv1028-Y Blevins v. Bureau of Prisons Warden et al
                      5:18cv89-C Delgado-Jimenez v. McAdams
                      5:18cv95-C Le v. The United States of America
                      5:18cv165-C Frizzell v. United States of America et al




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Delaney, Sarah        3:16cv3495-D Anibowei v. Lynch et al
                      3:18cv1404-N-BT White v. Underwood
                      3:18cv2372-G Med-Cert Home Care LLC v. Azar, II et al
                      3:18cv2469-C Carter-Simmons v. United States of America
                      4:18cv497-A Nowlin v. United States of America
                      4:18cv773-A Wooderts v. United States of America

Guiltinan, Richard    3:17cv3341-S Mariacher v. United States of America
                      3:18cv280-L United States of America v. Knowles
                      4:18cv735-O Keehn v. United States Postal Service et al

Hasday, Lisa          3:15cv1178-K Stokes v. Johnson
                      3:17cv2482-D Cueva-Bustamante v. United States of America
                      3:17cv2701-M-BN Guillot v. Harmon et al
                      3:18cv686-C Price v. Wheeler
                      3:18cv1018-B-BH Brewer v. US Department of Justice et al
                      3:18cv1195-BK Okeayainneh v. US Department of Justice et al
                      3:18cv1349-M-BK Berk v. Executive Office of United States Attorneys
                      3:18cv1610-K Naquin v. United States of America
                      3:18cv2320-N Davidson v. US Department of Homeland Security et al
                      4:18cv614-A Johnson v. United States of America

Mahaffey, Clay        3:18cv2810-N Spencer et al v. USA

Martin, Greg          3:18cv1916-S USA v. $120,220 in U.S. Currency
                      3:18cv2346-B USA v. $94,995 in US Currency

Parker, Tami          1:17cv177-C Hendrick Medical Center v. Hargan
                      1:18cv11-C Anson General Hospital v. Azar, II
                      2:16cv129-D-BR Collier v. Esper et al
                      4:16cv752-O-BP United States of America v. Conner
                      4:17cv516-O Dao v. Upton et al
                      4:18cv59-A Mitchem v. United States of America
                      4:18cv225-O Conner v. United States of America
                      4:18cv497-A Nowlin v. United States of America

Rocha, Dimitri        3:13cv4495-B USA v. $14,245.67 in United States Currency
                      3:15cv4034-N USA v. Real Property Known as 802 CR 3375
                      3:17cv615-C USA v. 3000 Broken Bow Way,
                      3:18cv213-B USA v. $73,947.35 in United States currency
                      4:15cv806-Y USA v. $116,592 in U.S. Currency
                      4:18cv356-O USA v. Real Property Known as 2204 Park Springs Blvd.
                      7:17cv106-O USA v. One Fossilized Tyrannosaurus Bataar Skull




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Stoltz, Brian         3:17cv695-M Beltran Hernandez v. US Dept of Homeland Security et al
                      3:17cv3008-K Family Rehabilitation Inc v. Hargan et al
                      3:18cv359-S McGinty v. Azar
                      3:18cv1988-N-BT Suter v. Denton et al
                      3:18cv2941-N-BK Raney v. Dept of Agriculture
                      4:18cv311-O BNSF Railway Company v. EEOC
                      3:18cv2946-B Reich v. Berryhill

Theiss, Dawn          3:17cv3299-L Murray v. United States of America
                      3:18cv437-B United States of America v. Malcolm et al
                      3:18cv2649-G-BN Redrick v. USA

Tindall, Mark         2:18cv0104-D USA v. $25,865.00 in U.S. Currency
                      2:18cv155-D USA v. $10,000 in U.S. Currency
                      2:18cv186-D USA v. $114,308 in U.S. Currency
                      3:17cv2286-N USA v. $50,060 in United States Currency
                      3:18cv683-G USA v. $33,000 in US Currency
                      3:18cv725-N USA v. $20,427.00 in U.S. Currency
                      3:18cv1728-N USA v. 2017 Ford F350
                      3:18cv1869-S USA v. $77,010 in U.S. Currency
                      4:18cv326-O USA v. Sig Sauer (Sig-Arms) MPX-P Pistol et al

Webb, Donna           3:18cv1230-B Reaves v. US Small Business Administration et al

Woodward, Amber       1:17cv39-C Vaughn v. Castaneda et al
(former)              3:16cv3432-D Ndom v. Duke et al
                      3:17cv3347-N-BH Davis v. Brennan et al
                      3:18cv834-L-BN Yeboah v. US Immigration and Customs Enforcement
                      3:18cv1823-K ITSERVE Alliance Inc v. Nielsen et al
                      3:18cv1912-K-BH Ogbogu v. Department of Labor et al
                      3:18cv2043-G-BN Severino v. Johnson
                      3:18cv2304-S-BK Bao v. Session
                      3:18cv2683-G-BH Hammad v. Session
                      3:18cv3258-G Rasheed v. Bierman et al
                      4:18cv488-O Trejo v. Pompeo et al
                      5:18cv95-C Le v. The United States of America




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